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   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00182-NONE
12                                Plaintiff,            STIPULATION TO CONTINUE SENTENCING;
                                                        ORDER
13                          v.
                                                        DATE: March 27, 2020
14   ELFEGO ALCALA &                                    TIME: 8:30 a.m.
     TAMILENE CISNEROS,                                 COURT: Hon. Dale A. Drozd
15
                                 Defendants.
16

17
                                               STIPULATION
18
            1.      By previous order, this matter was set for sentencing on March 27, 2020.
19
            2.      By this stipulation, defendants Elfego Alcala and Tamilene Cisneros now move to
20
     continue the sentencing until August 7, 2020 at 8:30.
21
            IT IS SO STIPULATED.
22

23

24    Dated: March 18, 2020                                  MCGREGOR W. SCOTT
                                                             United States Attorney
25

26                                                           /s/ LAURA D. WITHERS
                                                             LAURA D. WITHERS
27                                                           Assistant United States Attorney
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      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
         Case 1:18-cr-00182-DAD-SKO Document 100 Filed 03/18/20 Page 2 of 2

     Dated: March 18, 2020                         /s/ NICHOLAS REYES
 1                                                 NICHOLAS REYES
                                                   Counsel for Defendant
 2                                                 ELFEGO ALCALA
 3
     Dated: March 18, 2020                         /s/ SERITA RIOS
 4                                                 SERITA RIOS
                                                   Counsel for Defendant
 5                                                 TAMILENE CISNEROS
 6

 7                                           ORDER
 8 IT IS SO ORDERED.

 9
       Dated:   March 18, 2020
10                                           UNITED STATES DISTRICT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME     2
30   PERIODS UNDER SPEEDY TRIAL ACT
